4:05-cr-03143-LES-DLP   Doc # 80   Filed: 10/24/06   Page 1 of 1 - Page ID # 206



               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  4:05CR3143
                              )
          v.                  )
                              )
LISA McGINN,                  )                      ORDER
                              )
               Defendant.     )
______________________________)


           The Court has been advised defendant wishes to enter a

plea.   Accordingly,

           IT IS ORDERED that a Rule 11 hearing is scheduled for:

                Monday, October 30, 2006, at 11:30 a.m.

Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska, or as soon thereafter as may

be called by the Court.

          DATED this 24th day of October, 2006.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   ______________________________
                                     LYLE E. STROM, Senior Judge
                                     United States District Court
